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16

17                                  UNITED STATES DISTRICT COURT

18                           NORTHERN DISTRICT OF CALIFORNIA

19

20   WITHROW NETWORKS, INC.,                          Case No. 5:24-CV-3203

21                     Plaintiff,                     COMPLAINT

22          vs.                                       DEMAND FOR JURY TRIAL

23   GOOGLE, LLC and YOUTUBE, LLC,
24                     Defendants.
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 1          Plaintiff Withrow Networks, Inc. (“Withrow”) alleges as follows for its patent infringement
 2   Complaint against Defendants Google, LLC (“Google”) and YouTube, LLC (“YouTube”),
 3   (Google and YouTube collectively, “Defendants”).
 4                                           INTRODUCTION
 5          1.      Historically, video streaming to mobile devices has not been smooth.
 6          2.      One problem has been the susceptibility of mobile internet networks to changes in
 7   available data capacity (e.g., bandwidth) due in part to congestion, connection quality, or
 8   infrastructure limitations.
 9          3.      Moreover, the many mobile device designs (for example, flip-phones, candy bar
10   devices, and touch screens), each with its own technological needs and capabilities, such as
11   different screen sizes, resolutions, and processor limitations, forced streamed video to target the
12   least common denominator in terms of hardware and bandwidth.
13          4.      A further issue was the software that made streaming possible, known as a protocol.
14   In the early days of streaming, such protocols (like Real Time Messaging Protocol, “RTMP”) were
15   simply not:
16
                    designed to ‘adapt’ the size of the encoded and streamed content based on
17                  the very specific conditions of a very specific client/player. Instead, there
                    was just ‘one version’ of the media . . . [yet], more and more types of devices
18                  were ‘connected,’ and more and more environments were being used for
                    playback.
19

20   Christian Pillsbury, Gone in a Flash: a brief history of HTTP Adaptive Streaming, MUX (Oct.
21   10, 2022), https://www.mux.com/blog/http-adaptive-streaming-history. (emphases added) (last
22   visited May 19, 2024).
23          5.      Behind the scenes, at the server level, at least three other problems further
24   complicated matters. First, the hardware was complex. These systems used expensive dedicated
25   media servers to transmit video to mobile devices (known as “clients”). To transmit video, which
26   is a data intensive task, these “stateful” servers kept track of each client session, maintaining
27   information about client data requests and interactions.        This architecture, however, made
28   streaming unnecessarily complex, especially in terms of performance and scalability. Second,
                                                       -2-

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 1   these systems were server-focused, meaning that the media servers, instead of the clients,
 2   controlled the flow of data, thereby saddling these servers with additional functions. Third, these
 3   media servers provided a video stream at a single quality level (supra at ¶¶ 3-4) which could not
 4   fully account for changing network conditions at the client.
 5             6.    In summary, the result was sub-optimal playback. “[T]his time [that] predated
 6   today’s world of modern smartphones” resulted in video “with less than stellar results” (Pilsbury,
 7   supra), especially on devices at each extreme: high-end devices failing to exercise their full
 8   streaming potential, and the oldest basic phones possibly receiving merely a black screen.
 9             7.    Plaintiff Withrow, through its prior entities,1 solved at least these problems using
10   technology it invented and claimed in U.S. Patent No. 10,771,849 (the “’849 Patent”), attached
11   hereto as Ex. 1.2
12             8.    Withrow’s innovative technology provided smooth streaming video to mobile
13   devices across the Internet using dynamic adaption of different media quality levels. That is,
14   Withrow’s technology, among other things, provided an improved picture even in the presence of
15   fluctuating network conditions.     Today, this technology is known as adaptive multi bitrate
16   (“ABR”) streaming.
17             9.    More specifically, Withrow realized that to provide a fluid streaming experience,
18   video should be encoded into a ladder of different quality levels with associated metadata to enable
19   mobile devices with diverse capabilities to select the proper rung and efficiently decode a media
20   stream.
21             10.   These advances also required a different view of streaming hardware. Withrow
22   took a contrarian position to industry orthodoxy by rejecting expensive stateful media servers.
23

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25   1 Withrow was founded in 2020, but its origin traces to LogoVision Wireless Inc. and its
26   technology commercialization subsidiary, Movidity Inc. Those two latter businesses are now
     dissolved.
27   2 ’849 Patent infringement charts (Exs. 2 and 3) are introduced in the counts of infringement,
28   infra ¶¶ 75-82.
                                                       -3-

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 1          11.     Instead of streaming basic data packets like stateful media servers, the ’849 Patent
 2   transmitted multimedia objects. Sending data grouped as multimedia objects made possible the
 3   use of Hyper Text Transfer Protocol (“HTTP”) which is a stateless means of communication. This
 4   advancement enabled scalable and efficient streaming through inexpensive web servers (which
 5   also made possible communications through firewalls), rather than the costly and technically-
 6   complex solutions employing dedicated (stateful) media servers.
 7          12.     In addition to the problems with stateful architecture, Withrow solved problems
 8   caused by diverse client hardware, such as varying processor, screen and resolution capabilities.
 9          13.     The ’849 Patent solved these problems by, at a minimum, creating a streaming data
10   structure that joined multimedia objects with metadata describing the video streams, allowing
11   clients to account for their diverse capabilities. Moreover, with a client-based approach, the client
12   (i.e., mobile device) could tell the server how to send the data. The result was optimized playback
13   of computationally intensive media even on modest mobile device hardware, which otherwise
14   would have been solely possible on wired desktop computers.
15          14.     The technology that resulted in the ’849 Patent was immediately recognized as
16   groundbreaking. For instance, on information and belief, in December 2005, ARM Ltd., the
17   primary microprocessor manufacturer at the time for mobile phones, believed Withrow’s
18   technology provided a highly optimized, true MPEG4 (and for audio true AAC) decoder for mobile
19   clients possessing a “unique” adaptive rate media object transmission model. As such, it is
20   unsurprising that ARM Ltd. licensed the Withrow technology to demonstrate high-performance
21   MPEG-4 Part 2 video streaming.
22          15.     Below is an example of Withrow’s ABR technology on a Blackberry device, which,
23   on information and belief, comes from 2006:
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            16.     By mid-2006, major platforms, such as those of Qualcomm and Sprint, were
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     demonstrating the Withrow mobile ABR technology:
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                    ARM will be demonstrating the Movidity player upon a Qualcomm
10                  platform, with Sprint’s mobile wireless network. This joint demonstration
                    between ARM, Sprint, Qualcomm and Movidity underscores the
11                  significance of each organization in the realm of advanced mobile
12                  multimedia. The performance of Movidity’s multimedia player will be
                    matched with the capabilities of the ARM enabled Qualcomm mobile
13                  device platform and Sprint’s advanced wireless network, allowing attendees
                    to experience the next generation in mobile multimedia.
14
     Ex. 4, Press Release, Movidity (May 12, 2006).3
15
            17.     In addition to its work with hardware manufacturers, by 2007 Movidity developed
16
     Movy.tv—a client-facing mobile ABR media sharing system that provided live and on-demand
17
     video streaming.
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     Movy.tv, www.movy.tv (as of Oct. 17, 2007 on Wayback Machine).
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27   3 Page citations within this Complaint refer to the page of the exhibit, i.e., the PDF, and not the
28   internal pagination, if any, unless otherwise noted.
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 1          18.    That same year, YouTube launched its own mobile site:
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13   See, e.g., YouTube, http://youtube.com/mobile (as of Aug. 28, 2007 on Wayback Machine).
14          19.    On information and belief, YouTube’s site at the time streamed to mobile devices
15   using solely the Real Time Streaming Protocol (“RTSP”)—a server-driven stateful technology.
16          20.    Moreover, although both mobile streaming platforms were launched in 2007,
17   Movy.tv used ABR, while YouTube did not.
18          21.    Exemplary screen captures from 2008 of Movy.tv and mobile YouTube (as of Apr.
19   14, 2008 on Wayback Machine) are shown below:
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 1          22.     In short, Withrow’s HTTP-based mobile streaming technology solved the
 2   aforementioned mobile streaming challenges years before its nearest competitor. Indeed, other
 3   than Withrow’s patented technology, it is well documented that “there was nothing that even
 4   remotely resembled a ‘stream’ in HTTP in 2008, let alone anything that was designed specifically
 5   to help with streaming media.” Pillsbury, supra.
 6          23.     It was not until 2009 that Defendants realized a better and more efficient manner of
 7   transmitting videos was necessary. That was the start of Defendants’ aptly named, “Sliced Bread”
 8   project with Adobe Inc. (“Adobe”). Google explained that before acquiring ABR technology from
 9   Adobe, it was “delivering video in giant loaves of bread” to the end user. After incorporating
10   sliced video into their streaming services, Defendants pronounced this technology as “The New
11   World”:
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19   Google I/O 2013 - Adaptive Streaming for You and YouTube, at 2:52 and 3:12,

20   https://www.youtube.com/watch?v=UklDSMG9ffU (last visited May 15, 2024).

21          24.     While this concept may sound easy, it was not. According to YouTube, “One of

22   the core axioms of engineering work at YouTube . . . is [that] playing videos is hard, surprisingly

23   hard.” Id., at 17:30-17:42. To develop a fully functional ABR system (with Adobe’s help),

24   Defendants stated that it “took us . . . 4 years [for this project] from start to finish more or less –

25   we spent months finding bugs and . . . launching experiments and trying to figure out where all the

26   problems” were. Id. at 11:54-12:10.

27          25.     Moreover, while slicing data may have addressed bandwidth issues, Defendants

28   also had to address the “hardware . . . limitations that prevented the mobile experience from
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 1   keeping up with YouTube on desktop.” Ex. 5, Andrey Doronichev, YouTube Mobile gets a kick
 2   start, YouTube Official Blog (Jul 7, 2010).
 3             26.   A comprehensive solution was needed. Eventually, industry developed standards
 4   that coopted the ’849 Patent’s technology, including HTTP Live Streaming (“HLS”) (published in
 5   2009) and Dynamic Adaptive Streaming over HTTP (“MPEG-DASH”) (published in 2012)—the
 6   streaming standards at issue in this case. As used by Defendants, these standards provide solutions
 7   to the problem of fluid video playback on mobile devices—the same problem that Withrow’s
 8   technology solved years earlier:
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                     [C]onnectivity can be flaky and changeable, and bandwidth is often limited.
18                   To cope with real world connectivity . . . you deliver video in segments over
                     a normal HTTP connection. Each segment is made available at a variety of
19
                     bit rates, resolutions, and formats. Depending on the bandwidth and
20                   device capabilities, the client chooses the best possible version . . . with
                     all the advantages of HTTP, without the disadvantages of a traditional
21                   streaming server.
22   Shaka Player: High Performance Video for the Web (Google Developers), at 0:39-1:21

23   (discussing MPEG-DASH, but equally applicable to HLS),

24   https://www.youtube.com/watch?v=Fm3Bagcf9Oo (last visited May 15, 2024) (emphasis

25   added).

26             27.   On information and belief, Defendants place great value on their mobile streaming

27   products and services. Nearly fourteen years ago, they predicted this market to be “huge and

28   growing fast.” Ex. 5, Doronichev, supra.
                                                       -8-

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 1          28.     In fact, Defendants found the growth in mobile streaming to be “surprising,” noting
 2   that YouTube mobile received “roughly the number of daily playbacks that YouTube.com was
 3   streaming when we joined forces with Google in 2006.” Id.
 4          29.     Unfortunately for Defendants, that great value is attributable to their infringement
 5   of the ’849 Patent, and the Defendants must compensate Withrow for their unauthorized use.
 6

 7                                     NATURE OF THE ACTION
 8          30.     This is a civil action for patent infringement arising under 35 U.S.C. § 100, et seq.,
 9   and in particular, § 271 pertaining to: Google and YouTube’s implementations of the streaming
10   standards MPEG-DASH and HLS on mobile devices.
11                                                PARTIES
12          31.     Plaintiff Withrow is a Canadian company with a principal place of business in
13   Toronto, Ontario, Canada M4K 1W6.
14          32.     Defendant Google is a Delaware limited liability company with a principal place of
15   business located at 1600 Amphitheatre Parkway, Mountain View, California. Google maintains a
16   regular and established place of business in this District.
17          33.     Defendant YouTube is a Delaware limited liability company with a principal place
18   of business located at 901 Cherry Avenue, San Bruno, California. YouTube maintains a regular
19   and established place of business in this District.
20          34.     YouTube is wholly owned by Google, and, at all times relevant to the allegations
21   herein, has acted in concert with and/or at the direction of Google.
22          35.     YouTube’s Terms of Service under the “Your Service Provider” section state, with
23   respect to YouTube’s services, that “[t]he entity providing the Service is Google LLC.” Ex. 6,
24   Terms of Service, YouTube, at 3, https://www.youtube.com/static?template=terms (last visited
25   Mar. 13, 2024). Thus, Google exercises direction and control over YouTube’s streaming services.
26          36.     YouTube’s Terms of Service also state that many of YouTube’s services can only
27   be used if the customer has a Google account:
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 1                  Google Accounts and YouTube Channels
 2                  You can use parts of the Service, such as browsing and searching for
 3                  Content, without having a Google account. However, you do need a
                    Google account to use some features. With a Google account, you may be
 4                  able to like videos, subscribe to channels, create your own YouTube
                    channel, and more. You can follow these instructions to create a Google
 5                  account.
 6   Id. at 4-5 (emphasis added). Thus, YouTube is an agent of Google as an account with the latter is
 7   required to access the services of the former.
 8          37.     YouTube encourages content providers to upload videos to its website for which
 9   YouTube will provide royalty payments. YouTube’s Terms of Service makes clear that Google,
10   not YouTube, will withhold taxes for such payments by YouTube to its content providers:
11
                    Right to Monetize
12
                    You grant to YouTube the right to monetize your Content on the Service
13                  (and such monetization may include displaying ads on or within Content
                    or charging users a fee for access). . . . [A]ny payments you may be
14                  entitled to receive from YouTube . . . will be treated as royalties . . . [and]
                    . . . [i]f required by law, Google will withhold taxes from such
15
                    payments.
16   Id. at 9 (emphasis added). Again, YouTube is an agent of Google as the latter takes tax
17   responsibility on behalf of YouTube.
18          38.     As the YouTube video service is controlled by Google, the parent company is a real
19   party in interest in terms of enforcing YouTube Community Guidelines (“Guidelines”). For
20   example, if a user’s access to YouTube is restricted due to a violation of the Guidelines, “Google
21   reserves the right to terminate [the user’s] Google account or [the user’s] access to all or part of
22   the Service.” Id. at 10.
23          39.     Google and YouTube are also financially intertwined. YouTube generates the
24   majority of its revenue through advertisements displayed on its streaming service:
25
                    How does YouTube make money?
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                    YouTube's main source of revenue is advertising. Additionally, we earn
27                  money from our monthly subscription businesses such as YouTube
                    Premium. We’ve also developed tools to help eligible Creators earn
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 1                     money in a variety of other ways such as Super Chat, channel
                       memberships, and merchandise. In most cases, Creators and YouTube
 2                     share revenue generated from these channels.
 3   Ex. 7, Revenue Sharing, YouTube, at 1, https://www.youtube.com/howyoutubeworks/our-
 4   commitments/sharing-revenue/) (last visited Apr. 29, 2024) (emphasis added).
 5          40.        To generate this majority of its revenue, YouTube must access Google Ads.
 6   Indeed, YouTube explicitly states that a content provider must have a Google Ads account:
 7
                       Do I need a Google Ads account to advertise on YouTube?
 8
                       Yes. Google Ads helps businesses run ads across the entire Google
 9                     advertising platform, which includes YouTube. That means you’ll set up,
                       run, and manage your YouTube Ads campaign with a Google Ads account.
10
                       If you don’t have an account yet, you can sign up here.
11
     Ex. 8, Frequently asked questions, YouTube Advertising, www.youtube.com/intl/en_us/ads/faqs/,
12   (last visited Apr. 29, 2024) (emphasis added).

13          41.        Content providers stream their media through the Google and YouTube infringing

14   video services:

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24   www.youtube.com/watch?v=RTWhvp_OD6s (last visited Mar. 13, 2024).
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 1          42.     Such YouTube video streams are served by YouTube’s parent company, Google:
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13   Id. (YouTube HLS streaming data).
14          43.     The source domain, googlevideo.com, is owned by Google, LLC:
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20   Ex. 9, ICANN Lookup, at 2, https://lookup.icann.org/en/lookup (last visited May 15, 2024).
21                                    JURISDICTION AND VENUE
22          44.     The Court has subject matter jurisdiction over this action under 28 U.S.C. §§ 1331
23   and 1338(a) because it arises under the patent laws of the United States.
24          45.     The Court has personal jurisdiction over Google. Google maintains a regular and
25   established place of business at 1 Market Street, San Francisco, CA 94105.               Google has
26   purposefully availed itself of the rights and benefits of the laws of this State and this District. On
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 1   information and belief, with respect to the allegations outlined in this Complaint, Google also has
 2   committed acts of infringement in this District.
 3            46.   The Court has personal jurisdiction over YouTube. On information and belief,
 4   YouTube maintains a regular and established place of business at 901 Cherry Avenue, San Bruno,
 5   CA 94066. YouTube has purposefully availed itself of the rights and benefits of the laws of this
 6   State and this District. On information and belief, with respect to the allegations outlined in this
 7   Complaint, YouTube also has committed acts of infringement in this District.
 8            47.   On information and belief, Google operates infringing video streaming
 9   infrastructure in this District through at least itself, YouTube, or both.
10            48.   On information and belief, YouTube operates infringing video streaming
11   infrastructure in this District through at least itself, Google, or both.        In fact, YouTube’s
12   headquarters are identified as owned by Google, “You can contact YouTube at the address below.
13   Google     LLC,    D/B/A      YouTube,     901     Cherry    Ave.,    San    Bruno,    CA     94066.”
14   https://www.youtube.com/t/contact_us?hl=en_GB (last visited May 15, 2024).
15            49.   Venue is proper in this District under 28 U.S.C. §§ 1391 and 1400(b) because,
16   among other things, Google and YouTube have regular and established places of business in this
17   District, engaged in a substantial number of events giving rise to Withrow’s claims in this District,
18   and have committed acts of infringement in this District.
19                                      FACTUAL BACKGROUND
20   The ’849 Patent
21            50.   On September 8, 2020, the United States Patent and Trademark Office issued the
22   ’849 Patent, entitled, “MULTIMEDIA SYSTEM FOR MOBILE CLIENT PLATFORMS.”
23            51.   Withrow is the assignee and owner of all rights, title, and interest in and to the ’849
24   Patent, including the right to assert all causes of action arising under the ’849 Patent, and the right
25   to all remedies for its infringement.
26            52.   Prior to the inventions of the ’849 Patent, the delivery of audio and video to mobile
27   devices faced numerous technical problems that negatively affected video quality. Unlike desktop
28   computers, which were generally limited to a few standardized configurations that had ample
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 1   processing power to effectively stream video, mobile device streaming at the time of the invention
 2   suffered from a plethora of device design choices, such as variations in screen sizes, and
 3   fragmented technologies coupled with “limited resources” (e.g., processor capabilities), which
 4   were viewed as “bottle necks” to streaming performance. Ex. 10, Krešimir Fertalj & Marko
 5   Horvat, Comparing Architectures of Mobile Applications, at 1 (2007).
 6          53.     The ’849 Patent addressed these problems. For example, the invention provides for
 7   object parameters in the video stream to account for the hardware limitations of mobile devices.
 8   Supra at ¶¶ 11,13.
 9          54.     A different problem around the time of the ’849 Patent invention was the system
10   architecture. Mobile device streaming centered on a server monitoring and controlling the
11   streaming process. This model, where the server pushed data to the client, required server
12   management of the selected data stream and, by nature, resulted in a more complex architecture as
13   the server must store the state of each stream. Pillsbury, supra (“[E]xisting standards . . . relied on
14   highly specialized server . . . and highly specialized clients . . . [and] RTMP and protocols like it
15   were inherently and deeply session based and stateful between client and server.”).
16          55.     The ’849 Patent’s client-centric streaming approach (disclosed in its 2005 patent
17   filing) was an improvement over the stateful, dedicated server model.
18          56.     Six years after the filing of the application that resulted in the ’849 Patent, industry
19   groups arrived at the same conclusion as Withrow: “[A] client-centric approach [has] no session
20   state in network,” which improves scalability, and importantly, is more effective because the
21   “client has the best view of network conditions.” Ex. 11, Mark Watson, HTTP Adaptive Streaming
22   in Practice, ACM MMSys 2011, at 8. Industry further realized that by using HTTP to provide
23   stateless data transmission, a client could benefit from operational metrics because, during the
24   course of streaming, “only the client knows what really happened anyway.” Id. It took, however,
25   several more years for Defendants to appreciate these benefits:
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 8   Google I/O 2013 - Adaptive Streaming for You and YouTube (last visited May 15, 2024)

 9   (emphasis added).

10          57.     The ’849 Patent provided other solutions in the computational arts. For instance,

11   in 2013, Defendants announced that their new streaming system, which, on information and belief,

12   was not entirely available on mobile devices, solved another key streaming issue. Specifically,

13   YouTube’s ABR quality level switching had suffered from a time alignment issue:

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21                                  Defendants’ Prior ABR Encoding

22   Id.

23          58.     The problem was that upshifts or downshifts in quality levels would result in video

24   artifacts (“[Y]ou’d either get black flashes or you’d go back in time.” Id. at 12:41-45) and audio

25   degradation (“[Y]ou’re making pops and glitches in people’s ears. This is bad.” Id. at 12:58-

26   13:05). This happened because a quality level shift meant the client was required to wait until the

27   next frame of the desired quality was ready for playback, during which time the stream exhibited

28   the aforementioned negative characteristics.
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 1          59.     At the 2013 I/O conference, Defendants announced their solution to the world: first
 2   encode all the data to make it time aligned, and then jump the stream at key locations, thereby
 3   providing a fluid video broadcast, “to really improve the experience.” Id. at 13:29-40.
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                                  Defendants’ Improved ABR Encoding
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            60.     While this technique was new to Defendants, Withrow had invented that
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     technology at least as of 2005 – nearly eight years earlier:
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26   Ex. 1., ’849 Patent.
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       WITHROW NETWORKS, INC.’S COMPLAINT
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 1   The HLS Standard
 2           61.     The provision of mobile players and systems utilizing the HLS standard to deliver
 3   multimedia violates Withrow’s rights under the ’849 Patent.
 4           62.     Apple Inc., the developer of HLS, describes that standard as follows:
 5                   HTTP Live Streaming provides a reliable, cost-effective means of
 6                   delivering continuous and long-form video over the Internet. It allows a
                     receiver to adapt the bit rate of the media to the current network conditions
 7                   in order to maintain uninterrupted playback at the best possible quality.

 8   Ex. 12, Roger Pantos & William May, Jr., HTTP Live Streaming, RFC 8216, at 4,

 9   https://datatracker.ietf.org/doc/rfc8216/.

10           63.     As shown below, the ’849 Patent and the HLS standard share many structural

11   similarities.

12    Apple HLS Standard:

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23    Ex. 13 (HTTP Live Streaming – Overview, https://developer.apple.com/documentation/http-
24    live-streaming, at 1-2 (last visited Mar. 16, 2024).
25
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 1
      The ’849 Patent:
 2
                                                                   AV Inputs
 3
                                 Client
 4

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 6

 7                                                                                   Encoder/Segmenter

 8                                                  Distribution
 9
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15    Ex. 1, the ’849 Patent at Fig. 1 (annotated in red).

16          64.     Specifically, infringing streaming systems have at least three parts: encoded data

17   with object parameters, multimedia objects with location identifiers, and fluid decoding and

18   playback of media based on bandwidth conditions. These three streaming elements of the ’849

19   Patent are present in all implementations of HLS.

20          65.     Implementations of the HLS streaming protocol in systems, software, and methods

21   infringe the ’849 Patent.

22          66.     For example, HLS processes include: encoding data (“a hardware encoder takes

23   audio-video input, encodes it . . . and breaks the stream into a series of short files” (Ex. 13 at 2

24   (HTTP Live Streaming – Overview)) with object parameters (“#EXT-X-STREAM-INF:

25   BANDWIDTH = 640000, RESOLUTION = 640x360, CODECS = “avc1.42e00a,mp4a.40.2” (Ex.

26   13 at 10 (HTTP Live Streaming – Creating a Multivariant Playlist)), host path identifiers

27   (“http://example.com/movie1/fileSequenceA .ts” (Ex. 13 at 6 (HTTP Live Streaming – Video on

28   Demand playlist construction), and decoding and sequential playback (“The URL of the index file
                                                       -18-

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 1   is published on the web server . . . then requests the listed media files in order and displays them
 2   without any pauses or gaps between segments” (Ex. 13 at 2 (HTTP Live Streaming – Overview))
 3   such that it is fluid (“minimize stalling of playback, to give the user the best possible streaming
 4   experience” (Ex. 13 at 9 (HTTP Live Streaming – Creating a Multivariant Playlist)).
 5   The MPEG-DASH Standard
 6          67.     The provision of mobile players and systems that utilize the MPEG-DASH standard
 7   to deliver multimedia violates Withrow’s rights under the ’849 Patent.
 8          68.     The MPEG-DASH standard is described as follows:
 9
                    [MPEG-DASH] specifies . . . formats that enable delivery of media content
10
                    from standard HTTP servers to HTTP clients . . . .
11
                    [This format] provides sufficient information for a client to provide a
12                  streaming service to the user by accessing the Segments through the
                    protocol specified in the scheme of the defined resources. . . .
13
                    [This format] provides sufficient information for the DASH Client to
14
                    provide a streaming service to the user by requesting Segments from an
15                  HTTP server and demultiplexing, decoding and rendering the included
                    media streams.
16

17   Ex. 14 Information technology — Dynamic adaptive streaming over HTTP (DASH), ISO/IEC

18   23009-1, at § 4.1 “System Description,” internal p. 8-9 (3d Ed. 2019).

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 1           69.     As shown below, the ’849 Patent and MPEG-DASH standard share many structural
 2   similarities:
 3

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11
     Ex. 15, Thomas Stockhammer, Dynamic Adaptive Streaming over HTTP – Design Principles and
12
     Standards, Qualcomm, at 6.
13
             70.     Specifically, and as discussed above in reference to the HLS standard, infringing
14
     streaming systems have at least three parts: encoded data with object parameters, multimedia
15
     objects with location identifiers, and fluid decoding and playback of media based on bandwidth
16
     conditions. These three streaming elements of the ’849 Patent are present in all implementations
17
     of MPEG-DASH.
18
             71.     Implementations of the MPEG-DASH streaming protocol in systems, software, and
19
     methods infringe the ’849 Patent.
20
             72.     For example, MPEG-DASH processes include: encoding data (Ex. 15,
21
     Stockhammer, at 6) with object parameters (e.g., @width and @frameRate (Ex. 14, ISO/IEC
22
     23009-1, at Table 13, internal p. 54-57)); host path identifiers (e.g., BaseURL (id. at § 5.6, internal
23
     p. 85)); and decoding and sequential playback (“the sequential decoding and presentation of Media
24
     Segments . . . results in a correct presentation of all contained media streams” (id. at § 4.5.3,
25
     internal p. 15)) such that it is fluid (“The formats defined in this document are designed for
26
     providing good user experience even in case the access bandwidth . . . varies” (id. at § 4.5.1,
27
     internal p. 14)).
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 1   YouTube’s Infringement of the ’849 Patent
 2          73.     On information and belief, YouTube has infringed the ’849 Patent at least by
 3   providing its streaming services to mobile devices that use YouTube player applications and web-
 4   based applets (such as on www.youtube.com and m.youtube.com) through implementations
 5   utilizing MPEG-DASH, HLS, or both (the “YouTube Infringing Solutions”) (see, Ex. 2
 6   Infringement Chart with respect to the HLS Standard; and Ex. 3, Infringement Chart with respect
 7   to the DASH standard).
 8   Google’s Infringement of the ’849 Patent
 9          74.     On information and belief, Google has infringed the ’849 Patent (including by at
10   least its control and direction over YouTube) at least by providing its streaming services to mobile
11   devices that use YouTube player applications and web-based applets (such as on
12   www.youtube.com and m.youtube.com) through implementations utilizing MPEG-DASH, HLS,
13   or both (the “Google Infringing Solutions”) (see, Ex. 2 Infringement Chart with respect to the HLS
14   Standard; and Ex. 3, Infringement Chart with respect to the DASH standard).
15                                             COUNT ONE
16                                    Patent Infringement By Google
17          75.     Withrow incorporates by reference each of the preceding paragraphs of this
18   Complaint.
19          76.     Google has directly infringed at least claim 1 of the ’849 Patent, pursuant to 35
20   U.S.C. § 271(a), literally or under the doctrine of equivalents, through its making, using, selling
21   and/or offering for sale of the Google Infringing Solutions. For example, Google’s infringement
22   of the ’849 Patent is shown in the attached charts hereto. Ex. 2, HLS Infringement Chart; Ex. 3,
23   MPEG-DASH Infringement Chart.
24          77.     On information and belief, Google, YouTube, and/or third parties provide the
25   Google Infringing Solutions with streaming content, but, regardless of the content provider,
26   Google controls or practices each and every element of at least independent claim 1 of the ’849
27   Patent. Moreover, while particular deployments of each of the Google Infringing Solutions may
28
                                                      -21-

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 1   vary, Google infringes for every deployment that implements HLS, MPEG-DASH or both
 2   standards for streaming.
 3          78.     Google’s infringement of the ’849 Patent has violated Withrow’s intellectual
 4   property rights in an amount to be determined at trial.
 5                                             COUNT TWO
 6                                   Patent Infringement By YouTube
 7          79.     Withrow incorporates by reference each of the preceding paragraphs of this
 8   Complaint.
 9          80.     YouTube has directly infringed at least claim 1 of the ’849 Patent, pursuant to 35
10   U.S.C. § 271(a), literally or under the doctrine of equivalents, through its making, using, selling
11   and/or offering for sale of the YouTube Infringing Solutions.          For example, YouTube’s
12   infringement of the ’849 Patent is shown in the attached charts hereto. Ex. 2, HLS Infringement
13   Chart; Ex. 3, MPEG-DASH Infringement Chart.
14          81.     On information and belief, Google, YouTube and/or third parties provide the
15   YouTube Infringing Solutions with streaming content, but, regardless of the content provider,
16   YouTube controls or practices each and every element of at least independent claim 1 of the ’849
17   Patent. Moreover, while particular deployments of each of the YouTube Infringing Solutions may
18   vary, YouTube infringes for every deployment that implements HLS, MPEG-DASH or both
19   standards for streaming.
20          82.     Accordingly, YouTube’s infringement of the ’849 Patent has violated Withrow’s
21   intellectual property rights in an amount to be determined at trial.
22                                        PRAYER FOR RELIEF
23          WHEREFORE, Withrow respectfully prays for relief as follows:
24          A.      Judgment that Defendants have infringed one or more claims of the ’849 Patent;
25          B.      An award of damages pursuant to 35 U.S.C. § 284 in an amount sufficient to
26                  compensate Withrow for the harm caused by Defendants’ infringement, not less
27                  than a reasonable royalty for the use made of the invention, along with pre- and
28                  post-judgment interest;
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 1          C.      An order for an accounting of damages from the Defendants’ infringement(s);
 2          D.      Declare this case exceptional and award Withrow its costs, expenses, and attorneys’
 3                  fees pursuant to 35 U.S.C. § 285; and
 4          E.      An order awarding to Withrow such other and further relief, whether at law or in
 5                  equity, that this Court deems just, equitable, and proper.
 6

 7                                            JURY DEMAND
 8          Pursuant to Federal Rule of Civil Procedure 38(b) and Civil Local Rule 3-6(a), WITHROW
 9   hereby demands a trial by jury on all issues so triable.
10

11    Dated: May 28, 2024
12
                                                          By: /s/ John V. Picone III
13
                                                          Francisco A. Villegas
14                                                        Damir Cefo (pro hac vice, to be filed)
                                                          Mark W. Halderman (pro hac vice, to be filed)
15                                                        Evan M. Rosenbaum
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                                                          Mark McDougall (pro hac vice, to be filed)
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18                                                        John V. Picone III
                                                          SPENCER FANE LLP
19
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20                                                        WITHROW NETWORKS, INC.
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